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            IN THE UNITED STATES DISTRICT COURT FOR THE
           NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

DAVID HARRIS,                                 )
                                              )
             Plaintiff,                       )      No. 13-cv-8584
                                              )
             v.                               )      Hon. Judge John W. Darrah
                                              )
UNITED STATES,                                )
                                              )
             Defendant.                       )

    EMERGENCY MOTION TO CORRECT PLEADING BY VINCE FIELD

      NOW COMES attorney Vince Field, counsel for Plaintiff, to correct certain

statements in Dkt. No. 126 Agreed Emergency Motion for Extension. In support,

Mr. Field states as follows:

      1.     On July 19, 2016 I caused to be filed with this Court Dkt. No. 126

Agreed Emergency Motion for Extension.

      2.     This pleading contains a number of false statements that I would like

to correct and/or withdraw.

      3.     Specifically, paragraph 5 states that “Counsel for Plaintiff has a family

emergency that requires his son to have urgent surgery. That surgery will take

place this afternoon.” In addition, paragraph 7 states that “due to the emergent

nature of the circumstances” counsel for Plaintiff was requesting an extension of

time to complete discovery “so that [he] could be with his son during the above-

described family emergency…” Finally, paragraph 8 represented that the motion

was “brought in good faith.”
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      4.        Prior to filing the motion, I contacted the Clerk of this Court, Melanie

Foster, and similarly informed her that I was having a family emergency requiring

me to request an extension of time to complete discovery.

      5.        All of these statements were false as there was no family emergency.

      6.        I am filing this statement with the Court in order to correct the record.

I am also filing this statement with the Court because I am deeply embarrassed and

ashamed of my actions as described above.        Finally, I am filing this statement

because I owe this Court, Ms. Foster, opposing counsel, and my client an apology for

these incredibly poor decisions on my part.

      7.        I also misled opposing counsel before and after the filing of the motion.

      8.        There is absolutely no excuse for what I did and ever since taking

these actions I have not had a moment without tremendous regret.

      9.        I would like to note that this is something that I have never done

before. While it is no excuse, I can only say that my actions were borne of a feeling

of absolute desperation caused by the incredible stress of litigating cases, the

pressure to serve my clients well, and, at the time, an extreme lack of sleep. I truly

felt like I was at a breaking point and, having lost all perspective, somehow

convinced myself that I had no other options.

      10.       In addition to filing this statement, I have self-reported my actions to

the ARDC. I have also made my firm, opposing counsel, and my client aware of all

of the above.




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       11.    I fully recognize that what I did was wrong and I am very sorry for

taking the actions that I did. I would like to impress on the Court that my actions

in this regard are not a reflection of who I am as an attorney, nor or my colleagues

at my firm, nor of who I am as a person. Nor are they a reflection of my utmost

respect for the Court, for Ms. Foster, for opposing counsel, and for my client.

       12.    I can say that I have never in my life felt more embarrassed and

ashamed. I can also say that I fully understand what my ethical obligations are as

an attorney and that this is something that I will never do again.

       13.    My sincere hope is that this Court and opposing counsel can forgive my

transgression for which I am truly and deeply sorry and regretful.



       WHEREFORE, attorney Vince Field, counsel for Plaintiff, respectfully

requests that this Court either strike Dkt. No. 126 or certain parts thereof from the

record , or else allow counsel for Plaintiff to file a corrected pleading.




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         Dated: August 31, 2016

                                               Respectfully submitted,

                                               SIDLEY AUSTIN LLP

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                                                  Attorney for Vince Field




                               Certificate of Service

      I, William F. Conlon , a n attorney, certify that on August 31, 2016 I filed the

foregoing Emergency Motion to Correct Pleading a nd caused it to be served on a ll

counsel of record using the Court's CM/ECF system.



                                                  Is/ William F. Conlon
                                                      William F. Conlon




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